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                         UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS


IN RE: NEW ENGLAND COMPOUNDING                   MDL No. 2419
PHARMACY, INC. PRODUCTS LIABILITY                Master Dkt. 1:13-md-02419-RWZ
LITIGATION
THIS DOCUMENT RELATES TO:

All Actions


 PLAINTIFFS’ STEERING COMMITTEE’S MOTION FOR LEAVE TO FILE REPLY
   TO JOINT OBJECTION OF THE CREDITORS’ COMMITTEE AND MEMBER
   REPRESENTATIVES REGARDING 8% HOLDBACK ORDER [ECF NO. 1279]

       On July 18, 2014, the Plaintiffs’ Steering Committee (“PSC”) submitted its Jointly

Proposed Order Granting Motion for Entry of Case Management Order Establishing Assessment

Procedures to Fund Common Benefit Account [ECF No. 790].1 The Chapter 11 Trustee

approved the attached form of order.

       On July 21, 2014, six disgruntled attorneys for members of the Creditors’ Committee

filed a seven-page objection, attaching a competing proposed order and four other exhibits.2 The

competing proposed order proposes language that contradicts MDL Order No. 3, gives Creditors’

Committee members’ attorneys carte blanche approval for an unstated amount of time spent on

unstated efforts with unstated results, and accomplishes an end run around the Bankruptcy Code

and the U.S. Trustee’s admonition that attorneys for members of the Creditors’ Committee qua

attorneys for members of the Creditors’ Committee are not entitled to payment of their

   1
     Plaintiffs’ Steering Committee’s Notice of Filing of Jointly Proposed Order Granting
Motion for Entry of Case Management Order Establishing Assessment Procedures to Fund
Common Benefit Account [ECF No. 790], [ECF No. 1274].
   2
     Joint Objection Of The Official Committee Of Unsecured Creditors And Its Member
Representatives To Notice Of Filing Purported “Jointly” Proposed Order Granting Motion For
Entry Of Case Management Order Establishing Assessment Procedures To Fund Common
Benefit Account [Ecf No. 790] And Notice Of Filing Of Proposed Form Of Counter-Order, [ECF
No. 1279].
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professional fees.

       The PSC respectfully moves, in accordance with L.R. 7.1(b)(3), for leave to file the

attached five-and-a-half-page reply. A copy of the proposed reply is attached hereto as Exhibit

A.



Dated: July 24, 2014                        Respectfully submitted,

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                            Plaintiffs’ Steering Committee
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                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on July 24, 2014, a true and exact copy of the

foregoing was filed with this the Clerk of the Court using the ECF system that sent a notification

of this filing to all ECF registered counsel of record via e-mail generated by the Court’s ECF

system.


                                             /s/ Thomas M. Sobol
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